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                            UNITED STATES DISTRICT COURT                     JS-6
                           CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
                               CIVIL MINUTES - GENERAL

Case No.    CV 04-7019 GPS(CWx)                      Date:    February 5, 2008

Title:     Taco Bell Corp., v. TBWA Worldwide, Inc.
========================================================================
PRESENT:        THE HONORABLE GEORGE P. SCHIAVELLI,   JUDGE

                  Jacob Yerke                              Not Present
                 Courtroom Clerk                     Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:               ATTORNEYS PRESENT FOR DEFENDANT:

Not Present                                          Not Present

PROCEEDINGS:        Order Granting Defendant’s Motion for Attorneys’ Fees but
                    Reducing Award
                    (In Chambers)

     On January 7, 2008, the Court held a hearing regarding Defendant TBWA
Worldwide, Inc.’s Motion for Attorneys’ Fees (“Defendant’s Motion”) and took
the matter under submission.    After hearing argument and considering the
filings, the Court GRANTS Defendant’s Motion and awards TBWA $1,861,820.60.
Specifically, the Court orders:

       1.   an award of $1,446,007.97 to the Davis & Gilbert LLP law firm;
       1.   an award $406,912.50 to the Venable LLP law firm1; and
       2.   an award $8,900.13 to the Law, Weathers & Richardson law firm.

The Court, however, rejects TBWA’s request for a $4,000.00 award for the
Frankfurt Kurnit Klein & Selz law firm (“Frankfurt Kurnit”) as well as
$11,966.38 in costs. The reasoning behind this award and the reduction is
set forth below.

I.     BACKGROUND

     Between 1997 and 2000, Plaintiff Taco Bell Corp. ran a series of popular
advertisements using a live-action Chihuahua who appeared to recite the
phrase “Yo Quiero Taco Bell.” The Chihuahua advertising was developed and
produced by Defendant TBWA via a contract between the parties (“Agency
Agreement”), which included clauses addressing indemnification and

            1
                 Venable LLP acquired the firm Whitwell Jacoby Emhoff
       LLP during this litigation. Accordingly, all hours spent by
       Whitewell Jacoby Emhoff are accounted for in Venable’s records.

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reimbursement for reasonable attorneys fees.

     In January 1998, Thomas Rinks, Joseph Shields and their company Wrench
LLC (collectively, “Wrench”) filed suit in the United States District Court
of the Western District of Michigan against Taco Bell claiming that Taco Bell
had   improperly   used   Wrench’s   Psycho  Chihuahua   character   in   its
advertisements. The Wrench action alleged breach of an implied contract,
copyright infringement, and various torts.       On June 4, 2003, the jury
returned a verdict in favor of Wrench for breach of implied contract and
awarded Wrench $30,174,000 plus pre-judgment interest in excess of $11
million.

     The instant action concerns the claim for indemnification for the
judgment in the Wrench case.           Both parties asserted claims for
indemnification against the other. After reviewing the filings and hearing
argument on indemnification, the Court denied Plaintiff Taco Bell’s Motion
for Summary Judgment and granted Defendant TBWA’s Motion for Summary Judgment
on September 5, 2007. As part of this Order, the Court found Defendant TBWA
to be the prevailing party under the Agency Agreement and awarded reasonable
fees in an amount to be determined. Specifically, paragraph 15 of the Agency
Agreement states:

        Should either party institute any action or proceeding to enforce any
        provision hereof for damages or for any other relief by reason of an
        alleged breach of any provision hereof, the prevailing party will be
        entitled to receive from the losing party, such amount as the arbitrator
        (or court, if applicable) may judge to be reasonable as attorneys’ fees
        or the services rendered the prevailing party in such judgment against
        the losing party.

Under this provision, on September 20, 2007, Defendant TBWA moved for an
award of attorneys’ fees. The Court heard argument on January 7, 2008.

II.     LEGAL STANDARD

     Because this action was brought under diversity jurisdiction, this Court
applies state law in determining the method of calculating attorneys’ fees in
diversity actions. Mangold v. Cal. Public Util. Comm’n, 67 F.3d 1470, 1478
(9th Cir. 1995) (stating that the Ninth Circuit follows other circuits that
apply state law in diversity actions in calculating the fee).       Moreover,
paragraph 12 of the Agency Agreement expressly states that California law
governs the agreement.

      In assessing a reasonable attorney’s fee, a party must determine the
number of hours reasonably expended on litigation multiplied by a reasonable
hourly rate. See Hensley v. Eckerhart, 461 U.S. 424, 433 (1983); see also
PLCM Group, Inc. v. Drexler, 22 Cal. 4th 1084, 1095 (2000) (finding this
calculation as the starting point for determining reasonable attorneys’ fees
under California state law ). This calculation, called “lodestar”, provides

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an objective basis on which to make an initial estimate of the value of a
lawyer’s services. Id. “Where documentation of hours is inadequate, the
district court may reduce the award accordingly.” Id. at 434.

       An experienced trial judge is the best judge of the value of
professional services rendered in his court.     PLCM Group, 22 Cal. 4th at
1095.   “The trial court makes its determination after consideration of a
number of factors, including the nature of the litigation, its difficulty,
the amount involved, the skill required in its handling, the skill employed,
the attention given, the success or failure, and other circumstances in the
case.” Id. at 1096 (citation omitted). However, “‘padding’ in the form of
inefficient or duplicative efforts is not subject to compensation.” Ketchum
III v. Moses, 24 Cal. 4th 1122, 1132 (2001) (citation omitted). A court can
apply a fixed reduction when calculation of the precise reduction would be
difficult or cumbersome. See Welch v. Metro. Life Ins. Co., 480 F.3d 942,
948-49 (9th Cir. 2007) (allowing for fixed reduction of the hours that were
block billed in an action seeking attorneys’ fees as provided by federal
statute); Role Models America, Inc. v. Brownlee, 353 F.3d 962, 973 (D.C. Cir.
2004) (“A fixed reduction is appropriate given the large number of entries
that suffer from one or more of the deficiencies we have described.”).

III. DISCUSSION

     Defendant TBWA seeks $2.36 million in attorneys’ fees as set forth
specifically in the chart below.

Firm                                         Amount Requested
Davis & Gilbert                              $1,928,010.63
Venable/WJE                                  $412,922.502
Law Weathers & Richardson                    $15,900.63
Frankfurt Kurnit                             $4,000.000
TOTAL                                        $2,360,833.76

Additionally, TBWA seeks to recover $11,966.38 in non-taxable expenses.

     Defendant TBWA does not provide the basis on which a lodestar was
calculated for each firm. While TBWA submitted billing invoices, it has not
submitted a total breakdown of the hours and fees at issue. (Def.’s Motion,
Exs. 1, 2.) Plaintiff Taco Bell objects to Defendant TBWA’s fees on many
grounds.



          2
                  Venable’s Reply revised this figure to $409,432.40.

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     After evaluating the fees submitted and arguments, the Court first
addresses its findings on attorneys’ fees then its findings on costs.

     A.   Defendant’s Records Submit Unreasonable Entries for Attorneys’ Fees

     The Court reduces the requested amount of three of the four law firms
and denies the requested attorneys’ fees for the remaining law firm.

     First, the Court finds it difficult S if not impossible S to adequately
determine what fees requested by Davis & Gilbert were reasonable because the
voluminous billing records contain multiple deficiencies. Brownlee, 353 F.3d
at 973 (“A fixed reduction is appropriate given the large number of entries
that suffer from one or more of the deficiencies we have described.”)
(Emphasis added). Accordingly, the Court applies a 25% reduction across the
board to the fees sought by Davis & Gilbert. This reduction accounts for
vague entries, block billing, unrelated tasks, excessive hours, and clerical
tasks. It also accounts for the amounts that Davis & Gilbert admitted were in
error.

     Second, the Court awards the Venable law firm $6,010.00 less than the
$412,922.50 originally requested – a total award of $406,912.50. Third, the
law firms of Law, Weathers & Richardson and Frankfurt Kurnit submitted
incomplete records, warranting a reduction for the former and a denial for
the latter.

          1.    Vague Entries

     Plaintiff Taco Bell objects to Defendant TBWA’s vague entries. (See
Decl. Jeffrey Charkow in Support of Taco Bell’s Opp’n, Ex. D, E, F and G.)
For example, associate attorneys for Davis & Gilbert, Elizabeth Yoo and
Jennifer Schatzman, often billed time for “attention to files.” (See, e.g.,
Pl.’s Opp’n 5:18-23, citing numerous pages in Exhibit 3.) This reference,
“attention to files” is not only vague but it may also fail to justify
compensation at attorneys’ rates because it appears to refer to clerical
duties of organizing files. Moreover, Davis & Gilbert partner Paul Corcoran
stated that he spent 13 hours on May 12, 2004, “work[ing] on motions.” He
provided no other detail.    The very next day, he spent another 7 hours
“work[ing] on motions.” Again, he provides no detail as to how he spent his
day.

     The Court agrees with Plaintiff Taco Bell and finds that attorneys for
Davis & Gilbert often entered vague billing records, making it difficult for
the Court to determine if their fees for these activities were reasonable.
These vague entries are one of the several deficiencies in Davis & Gilbert’s
fee request that, when combined with the other deficiencies, support an
across-the-board 25% fee reduction.



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          2.    Block Billing3

     In reviewing the records submitted, a majority of the time billed by
Davis & Gilbert are block-billed entries. For example, attorney Elizabeth
Yoo’s records include a 10-hour block of time on June 7, 2004. This entry
lists the following tasks: “[m]eetings with PFC, NHK, RRU, and JJS;
conference call with PFC, NHK, RRU, JLS, Omnicom and TBWA; drafted three
letters to Jeff Charkow; drafted letter to Edward Bardelli; finalized Vada
Hill deposition outline and exhibits; meetings throughout day with PFC and
JLS; call with D. Emhoff and PFC; reviewed court order; reviewed letters and
emails from J. Charkow; meetings with paralegal.” (Supplemental Decl. of
Paul Corcoran, Oct. 24, 2007, Ex. 3, at p. 92.) This is just one example of
Yoo’s multiple block-billed entries. Other Davis & Gilbert attorneys and
paralegals billed similar large lumps of time with many tasks throughout the
277 pages of billing records.

     This billing makes it difficult, if not impossible, to determine whether
the time spent on each task was reasonable. The Court rejects Defendant
TBWA’s arguments that California allows block billing because no state case
actually rejects it. (See Def.’s Reply 13:7-13.) First, California case law
prohibits unreasonable attorneys’ fees. When it is difficult to decipher the
fees’ reasonableness because the tasks have been lumped together in blocks of
five to ten hours, the fees are       unreasonable.    Second, at least one
California state court has rejected block billing when it is difficult to
distinguish between compensated tasks versus uncompensated ones. See Bell v.
Vista Unified Sch. Dist., 82 Cal. App. 4th 672, 689 (2000) (“block-billed
entries render it virtually impossible to break down hours on a task-by-task
basis between those related to the Brown Act violation and those that are
not”).4   Third, district courts also object to block-billing when applying
California law to attorneys’ fees. See, e.g., Signature Networks, Inc. v.
Estefan, No. C 03-4786 SBA, 2005 WL 1249522, *9 (N.D. Cal. May 25, 2005)
(approving a 20% reduction because the numerous block billing entries made a
precise reduction difficult in analyzing attorneys’ fees under California

          3
               Block billing is the time keeping method by which each
     lawyer and legal assistant enters the total daily time spent
     working on a case, rather than itemizing the time expended on
     specific tasks. Welch v. Metro. Life Ins. Co., 480 F.3d 942, 945
     n.2 (9th Cir. 2007) (citation omitted).
          4
               The state court further explained that if the party
     could not further define the entries, the court should reduce
     them or “simply cast them aside.” Under this reasoning, the
     Court could simply exclude all time that was block-billed by
     Davis & Gilbert and drastically reduce the fees requested.
     However, as noted above, the Court finds an overall fixed
     reduction addresses the number of deficiencies without depriving
     the firm of fees for substantial time spent on this case.

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law).   Again, the Court’s fixed reduction of Davis & Gilbert’s request
accounts for this deficiency.

          3.    Unrelated Tasks

     Plaintiff claims that Defendant TBWA unreasonably billed for fees that
did not arise out of the obligations of the Agency Agreement between the
parties. Plaintiff contends that TBWA inappropriately included bills for (1)
the defense of the underlying Wrench action and (2) research and meetings
regarding a possible defamation suit and a legal malpractice action.

     The Court agrees that fees charged for tasks relating to defamation and
legal malpractice are improperly billed under the Agency Agreement. In fact,
Defendant TBWA does not attempt to justify these fees in its Reply. As to
Davis & Gilbert, the Court’s 25% fixed reduction incorporates the $9,295.00
fee Davis & Gilbert charged for these tasks.       As to Venable, the Court
reduces Venable’s fee by $2,520.00 that Venable’s Douglas Emhoff charged for
these tasks.

          4.    Excessive Hours

     Plaintiff also contends that Defendant spent excessive hours preparing
for a motion for summary judgment and depositions.

     As to the summary judgment, Plaintiff alleges that Defendant TBWA spent
an average of 58 hours a month between September 2003 and January 2004.
(Pl.’s Opp’n 11:13-26.)   Specifically, Davis & Gilbert spent approximately
1,257.5 hours working on the summary judgment motion and 514.8 hours
preparing for oral arguments. (Id. 11:27-12:4.) The Court agrees that this
time is excessive.

     Plaintiff Taco Bell also contends that Davis & Gilbert spent 149 hours
in preparing for and taking the deposition of one witness, Paul Veith. (Id.
12:5-6, Ex. O.)    The Court agrees that this time is excessive, especially
because many of the entries appear duplicative.       Additionally, Davis &
Gilbert admits that it erroneously billed seven hours for the “first
appearance before Judge Schiavelli” on August 29, 2004,5 and charging TBWA
twice due to a billing system change.

     In sum, the examples of excessive time are another deficiency in Davis
& Gilbert’s fee request, supporting the Court’s fixed 25% reduction.

          5.    Clerical Tasks

     Purely clerical or secretarial tasks should not be billed at a paralegal


          5
               There was no hearing or appearance in this Court on
     August 29, 2004.

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or lawyer’s rate, regardless of who performs them. Davis v. City of San
Francisco, 976 F.2d 1536, 1543 (9th Cir. 1992), vacated in part on other
grounds, 984 F.2d 325 (9th Cir. 1993). Despite this rule, Defendant appears
to be seeking fees for clerical tasks. For example, one paralegal bills time
for “hole punching and putting together binders”.     Additionally, another
paralegal includes a bill for phone calls she made to a hotel regarding
depositions as well as updating correspondence files. On another day, she
billed time for reserving a meeting room, among other clerical tasks. These
entries show yet another deficiency in Davis & Gilbert’s billing and further
support a 25% overall reduction.

          6.    Discrepancies in Supplemental Filings

     Plaintiff also argues that the requested fees should be rejected because
of discrepancies between the declarations filed by Defendant’s attorneys
Corcoran and Emhoff. Davis & Gilbert’s Corcoran claims these discrepancies
are immaterial and do not affect his firm’s total request. (Def.’s Reply
25:1-4.)   Venable’s Emhoff, however, submitted an amended request for
attorneys’ fees accounting for a $3,490.00 discrepancy.      (Reply Decl. of
Douglas Emhoff ¶ 8.) To account for these discrepancies, the Court reduces
Venable’s fee request by $3,490.00 and incorporates the Davis & Gilbert
discrepancies into the overall fixed 25% reduction.


          7.    Incomplete Records

     The billing records of the two additional law firms – Law Weathers &
Richardson and Frankfurt Kurnit – are largely incomplete.

     Defendant TBWA did not list the tasks done by the Law Weathers &
Richardson attorneys for the invoices through June 30, 2004.        Rather,
counsel just submitted the total number of hours and rates, including fees,
for that time period.   (See Paul Corcoran’ s Supplemental Declaration on
October 24, 2007, Ex. 1 at p. 5, as corrected by the CD-ROM Supplemental
Notice of Errata Nov. 7, 2007.)    For the invoices through July 31, 2006,
however, the Law Weathers & Richardson attorneys detail the tasks done in
timely increments. (Id. at pp. 6-8.) Accordingly, the Court reduces the
firm’s fee request by $7,000.50 as listed for the June 30, 2004 invoice and
awards the firm $8,900.13.

     The invoice submitted for Frankfurt Kurnit did not list any details as
to what the attorneys worked on or even the specific disbursements.   (Id.,
Ex. 2.) Accordingly, the Court denies this firm’s $4,000.00 award.
     B.   Agency Agreement Does Not Provide for Copy Costs

     Plaintiff also alleges that Defendant TBWA cannot recover the $11,966.38
in costs of photocopying documents that Sidley Austin incurred in the Wrench
decision. According to Plaintiff, the Agency Agreement does not contemplate


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an award of costs in addition to an award of fees.          Defendant TBWA calls this
argument incomprehensible.

     The Court disagrees with Defendant TBWA because the awarding of fees is
bound by the Agency Agreement and California state law, specifically
California Civil Code section 1717. Under section 1717, a court can award
attorneys’ fees in addition to other costs “where the contract specifically
provides that attorney’s fees and costs, which are incurred to enforce that
contract, shall be awarded ...”. Cal. Civ. Code § 1717(a) (emphasis added).


     In the Agency Agreement, paragraph 15 only allows for “such amount as
the arbitrator (or court, if applicable) may judge to be reasonable as
attorneys’ fees or the services rendered the prevailing party ...” (emphasis
added). This paragraph does not specifically allow for costs, as required by
section 1717(a). Accordingly, the Court DENIES Defendant TBWA’s recovery of
$11,966.38 in costs.




IV.     CONCLUSION

     As detailed above, the Court GRANTS              Defendant    TBWA’s   Motion      for
Attorneys’ Fees but reduces the award.




IT IS SO ORDERED.




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